           Case 7:20-cr-00322-PMH Document 79 Filed 11/15/21 Page 1 of 6




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------X
UNITED STATES OF AMERICA,

v.
                                                             ORDER
KWASI KIRTON,
                                                             20-CR-00322 (PMH)
                                   Defendant.
---------------------------------------------------------X

PHILIP M. HALPERN, United States District Judge:

        On September 21, 2021, Kwasi Kirton (“Defendant”) moved by letter-motion for

reconsideration of the Court’s April 20, 2021 Order (the “Prior Order”) (Doc. 50, “Ord.”) which

denied Defendant’s motion for inspection and disclosure of the Grand Jury minutes and

dismissal of the Indictment due to prosecutorial misconduct. (Doc. 70). The basis of Defendant’s

instant motion is a letter that was produced by the Government to defense counsel on August 25,

2021 from the Westchester County District Attorney’s Office (the “DA’s Office”) to the Mount

Vernon Police Department (“MVPD”) dated August 18, 2021 (“WCDAO Letter”). The

WCDAO Letter concerns the DA’s Office’s investigation of two incidents unrelated to this case

involving certain MVPD personnel and summarizes its findings in connection therewith. The

Court assumes the parties’ familiarity with the factual allegations as laid out in the Prior Order

and incorporates any additional factual allegations where appropriate infra.

        Under Local Criminal Rule 49.1, “[a] motion for reconsideration or reargument of a

Court order determining a motion shall be filed and served within fourteen (14) days after the

Court’s determination of the original motion. A memorandum setting forth concisely the matters

or controlling decisions which counsel believes the Court has overlooked shall accompany the

motion.” Local Crim. R. 49.1(d). Although Defendant’s motion is untimely, courts retain



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           Case 7:20-cr-00322-PMH Document 79 Filed 11/15/21 Page 2 of 6




discretion to excuse an untimely filing for good cause shown, and the Court will do so here. See

United States v. Lisi, No. 15-CR-00457, 2020 WL 1331955, at *1 (S.D.N.Y. Mar. 23, 2020).

         Generally, courts apply the standard of Local Civil Rule 6.3 in deciding motions brought

under Local Criminal Rule 49.1(d). United States v. Baldeo, No. S1-13-CR-00125, 2015 WL

252414, at *1 (S.D.N.Y. Jan. 20, 2015), aff’d, 615 F. App’x 26 (2d Cir. 2015). Under this

standard, “[a] motion for reconsideration may not be used to advance new facts, issues or

arguments not previously presented to the Court, nor may it be used as a vehicle for relitigating

issues already decided by the Court.” Tolliver v. Jordan, No. 19-CV-11823, 2021 WL 2741728,

at *9 (S.D.N.Y. July 1, 2021) (quoting RST (2005) Inc. v. Research in Motion Ltd., 597 F. Supp.

2d 362, 365 (S.D.N.Y. 2009)). “Motions for reconsideration ‘must be narrowly construed and

strictly applied in order to discourage litigants from making repetitive arguments on issues that

have been thoroughly considered by the court.’” Id. (quoting Range Road Music, Inc. v. Music

Sales Corp., 90 F. Supp. 2d 390, 391-92 (S.D.N.Y. 2000)). This motion is predicated exclusively

on newly discovered evidence: the WCDAO Letter; and as such it is, in and of itself, a reason to

deny a reconsideration motion. Reconsideration does not encompass arguments concerning new

facts.

         In any event, Defendant contends on this motion that had the newly disclosed WCDAO

Letter been available to the defense prior to the Preliminary Hearing in this case, the credibility

of the Government’s witness, MVPD Detective Ronnie Williams, would have been negatively




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          Case 7:20-cr-00322-PMH Document 79 Filed 11/15/21 Page 3 of 6




impacted and therefore the outcome of the Preliminary Hearing would have been different. 1

Defendant again argues that Detective Williams, as lead agent, “likely” testified in the Grand

Jury and presumes that his testimony was likely the same as that which he swore to at the

Preliminary Hearing before Magistrate Judge Smith. Defendant maintains that this Court would

have granted Defendant’s motion for disclosure of the Grand Jury minutes and dismissal of the

Indictment had it known of the WCDAO Letter and Detective Williams’s failure to disclose one

of the two incidents described therein to the Government prior to Preliminary Hearing because

the events call his credibility into question. 2

        The Court’s prior determination that “Detective Williams’s statements during the

interrogation and the testimony at the preliminary hearing are . . . easily read together” (Ord. at

3) is not undermined by the WCDAO Letter or Detective Williams’s purported failure to

disclose. In other words, even if the Court knew of the WCDAO Letter and circumstances

described by Defendant when it decided the original motion, the Court still would have found

that “Defendant ha[d] not met his burden of demonstrating that these statements constitute ‘some

grossly prejudicial irregularity or some other particularized need or compelling necessity’ to

permit the inspection and disclosure of the Grand Jury minutes in this case.” (Ord. at 4 (quoting

United States v. Gibson, 175 F. Supp. 2d 532, 534 (S.D.N.Y. 2001)). Detective Williams’s

credibility, even assuming that it was impaired by the WCDAO Letter and his failure to disclose,

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  To the extent that Defendant challenges Magistrate Judge Smith’s finding of probable cause at the
Preliminary Hearing, the returning of the Indictment by the Grand Jury rendered moot the Magistrate
Judge’s determination concerning probable cause. United States v. Allen, No. 20-CR-00242, 2020 WL
4504639, at *3 (E.D.N.Y. Aug. 5, 2020); see also United States v. Permisohn, 339 F. Supp. 52, 56
(S.D.N.Y. 1971) (“Once an indictment is filed . . . the need for a preliminary hearing is obviated, the
returning of an indictment, itself, constituting an independent finding of probable cause by the grand
jury.”).
2
  One of the incidents identified in the WCDAO Letter occurred in April 2017. The other incident
occurred in October 2020, months after the Preliminary Hearing and the Indictment, and therefore could
not have been disclosed as it had not yet even happened.

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            Case 7:20-cr-00322-PMH Document 79 Filed 11/15/21 Page 4 of 6




does not affect this Court’s analysis. Credibility of this witness is collateral to, and does not

sufficiently change, the circumstances to warrant a decision contrary to the earlier one made

herein.

          As set forth in the Prior Order, the Court may authorize disclosure of Grand Jury minutes

“at the request of a defendant who shows that a ground may exist to dismiss the indictment

because of a matter that occurred before the grand jury.” Fed. R. Crim. P. 6(e)(3)(E)(ii). The

party seeking disclosure must show that disclosure “is needed to avoid a possible injustice in

another judicial proceeding.” Douglas Oil Co. of California v. Petrol Stops Nw., 441 U.S. 211,

222 (1979). A defendant challenging a grand jury proceeding faces significant hurdles, as a

“presumption of regularity” applies to grand jury proceedings. United States v. R. Enters., Inc.,

498 U.S. 292, 301 (1991); Hamling v. United States, 418 U.S. 87, 139 n.23 (1974). A showing of

“some grossly prejudicial irregularity or some other particularized need or compelling necessity”

is required to invoke disclosure under the Rule. Gibson, 175 F. Supp. 2d at 534. Thus, a

defendant’s “allegation[s] of prosecutorial misconduct must be based on more than ‘speculation

and surmise.’” Id. (quoting United States v. Wilson, 565 F. Supp. 1416, 1436 (S.D.N.Y. 1983)).

          The allegation of prosecutorial misconduct is no more availing on reconsideration than it

was on the original motion. Assuming Detective Williams testified before the Grand Jury,

assuming the Indictment was grounded on his sole testimony, and assuming his testimony before

the Grand Jury was identical to his testimony at the Preliminary Hearing, the WCDAO Letter

does not alter this Court’s determination that insufficient grounds exist to disclose the Grand Jury

minutes and dismiss the Indictment. The Government was not under a duty to inform the Grand

Jury of an investigation such as the one described in the WCDAO Letter or to otherwise present

exculpatory material to the Grand Jury. See United States v. Regan, 103 F.3d 1072, 1081 (2d Cir.



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         Case 7:20-cr-00322-PMH Document 79 Filed 11/15/21 Page 5 of 6




1997) (“The government had no obligation to present exculpatory material to a grand jury.”); see

also United States v. Williams, 504 U.S. 36, 51-52 (the grand jury does not sit as an adjudicatory

body, but rather to “assess whether there is adequate basis for bringing a criminal charge. . . .

Imposing upon the prosecutor a legal obligation to present exculpatory evidence in his

possession would be incompatible with this system”). To the extent Defendant’s argument is that

the prosecutorial misconduct is predicated upon the Government’s failure to apprise the Grand

Jury of the investigation of an incident set forth in the WCDAO Letter, 3 such argument is

rejected. To attribute prosecutorial misconduct to the receipt of the WCDAO Letter is nothing

more than speculation. Nothing before the Court indicates there is or ever was any prosecutorial

misconduct. Indeed, there is no prejudicial prosecutorial misconduct that can arise from the

Government’s failure to raise impeachment—i.e., credibility—material such as the incident

described in the WCDAO Letter to the Grand Jury. See Regan, 103 F.3d at 1080-81.

       The Court also rejects Defendant’s argument that the Government must have presented

false testimony to the Grand Jury because the WCDAO Letter demonstrates that Detective

Williams “would have no reservations in” lying before the Grand Jury. (Doc. 78 at 3). Again, the

premise—that the Government presented false testimony to the Grand Jury—is rank conjecture

and speculation. In reality, the Court’s review of the WCDAO letter has not produced a scintilla

of proof concerning the topic of prosecutorial misconduct. Detective Williams’s failure to

disclose the incident described in the WCDAO Letter to the Government prior to the Preliminary

Hearing does not lead to the conclusion that he testified falsely to the Grand Jury, assuming he

testified at all, concerning his identification of Defendant. The argument that the Government, in




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  Defendant states in his Reply that he did not advance the argument that the Government has an
obligation to present exculpatory material to the grand jury. (Doc. 78 at 3).

                                                5
         Case 7:20-cr-00322-PMH Document 79 Filed 11/15/21 Page 6 of 6




turn, permitted him to present purportedly false testimony is, again, the type of “speculation and

surmise” that is insufficient to grant Defendant the relief he seeks. Weinstein, 511 F.2d at 627.

       Based on the foregoing, Defendant’s motion for reconsideration is DENIED. Trial will

proceed as scheduled on December 13, 2021, and all deadlines set forth in the Court’s September

1, 2021 Order (Doc. 69) remain in effect. The Clerk of Court is respectfully directed to terminate

the motion (Doc. 70).



SO-ORDERED:

Dated: White Plains, New York
       November 15, 2021


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                                              Philip M. Halpern
                                              United States District Judge




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